Case 1:23-cv-00108-LMB-JFA Document 477-1 Filed 10/06/23 Page 1 of 6 PageID# 7552




                    EXHIBIT 1
Case 1:23-cv-00108-LMB-JFA Document 477-1 Filed 10/06/23 Page 2 of 6 PageID# 7553




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

       UNITED STATES, et al.,

                               Plaintiffs,

               v.                                          No. 1:23-cv-00108-LMB-JFA

       GOOGLE LLC,

                              Defendant.




           DECLARATION OF ELIZABETH G. MCCABE IN SUPPORT OF
             PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP’S
               OPPOSITION TO NON-PARTIES YELP INC.’S AND
         NEWS/MEDIA ALLIANCE’S MOTION TO DISQUALIFY PAUL, WEISS

              I, Elizabeth G. McCabe, pursuant to 28 U.S.C. § 1746, declare as follows:

              1.     I am the Deputy General Counsel of Paul, Weiss, Rifkind, Wharton &

     Garrison LLP (“Paul, Weiss” or the “Firm”). This declaration is based on my personal

     knowledge, my review of Paul, Weiss’s records generated, maintained, and relied on in the

     ordinary course of its business, and information provided to me by other lawyers at Paul,

     Weiss.

              2.     The Firm represented Yelp, Inc. (“Yelp”) from August 2016 to September

     2020.

              3.     The Firm represented News/Media Alliance (“NMA”) from February 2017

     to September 2020.




                                                  1
Case 1:23-cv-00108-LMB-JFA Document 477-1 Filed 10/06/23 Page 3 of 6 PageID# 7554




              4.     Jonathan Kanter, who was a partner at Paul, Weiss from August 2016 to

     September 2020, signed the Firm’s engagement letters with Yelp and NMA.

              5.     Both engagement letters contain the following section regarding

     termination of an engagement:

              Termination — . . . Upon completion of the matter to which this
              engagement letter applies, . . . our attorney-client relationship will end
              unless we agree to continue the representation on other matters. We shall
              have no continuing obligation to advise you on any matter unless we
              otherwise agree in writing.

              6.     Jonathan Kanter and Brandon Kressin, who was an associate at Paul, Weiss

     from September 2016 to September 2020, left Paul, Weiss in September 2020 to start a

     boutique antitrust firm, The Kanter Law Group.

              7.     When Jonathan Kanter left private practice and joined the Department of

     Justice in the fall of 2021, Brandon Kressin continued practicing as The Kressin Law

     Group.

              8.     In July 2023, Mark Meador, who was an associate at Paul, Weiss from

     August 2016 to July 2019, joined Brandon Kressin’s firm, now known as Kressin Meador

     LLC.

              9.     Brandon Kressin of Kressin Meador LLC represents Yelp and NMA in

     bringing this motion to disqualify Paul, Weiss.

              10.    When they were at Paul, Weiss, Jonathan Kanter, Brandon Kressin, and

     Mark Meador performed the overwhelming majority of work for Yelp and NMA.

              11.    Jonathan Kanter’s representation of Yelp and NMA centered on various

     antitrust matters, some of them related to Google and others not related to Google.

              12.    While at Paul, Weiss, Jonathan Kanter, Brandon Kressin, and Mark Meador

     together accounted for 715.5 out of 759.3, or 94%, of the lawyer hours billed to Yelp.


                                                  2
Case 1:23-cv-00108-LMB-JFA Document 477-1 Filed 10/06/23 Page 4 of 6 PageID# 7555




             13.    While at Paul, Weiss, Jonathan Kanter, Brandon Kressin, and Mark Meador

     accounted for 731.9 out of 873.9, or 84%, of the lawyer hours billed to NMA.

             14.    The last date on which Paul, Weiss performed work for NMA was

     September 9, 2020.

             15.    The last date on which Paul, Weiss performed work for Yelp, which

     involved transferring matter files to Jonathan Kanter and Brandon Kressin at their new

     firm, was September 23, 2020. The last date on which Paul, Weiss performed substantive

     work for Yelp was on September 10, 2020.

             16.    No one at Paul, Weiss has done any work for Yelp or NMA since Jonathan

     Kanter and Brandon Kressin left in September 2020.

             17.    In addition to Jonathan Kanter, Brandon Kressin, and Mark Meador, several

     other lawyers who billed time to Yelp and NMA while at Paul, Weiss have since left the

     Firm.

             18.    I have confirmed, through a review of time records and communications

     with the relevant lawyers, that none of the lawyers who billed time to Yelp or NMA and

     who are still at the Firm did work for Yelp or NMA substantially related to Google’s digital

     display advertising technology (“Ad Tech”), and none of them was aware of the full scope

     of work that Jonathan Kanter, Brandon Kressin, or Mark Meador performed for Yelp or

     NMA while at Paul, Weiss.

             19.    I have confirmed, through consultation with the Firm’s Electronic

     Information Governance Department, that none of the lawyers who billed time to the

     Firm’s representation of Google in this Action has accessed any Yelp or NMA documents

     stored on Paul, Weiss’s document management system.




                                                  3
Case 1:23-cv-00108-LMB-JFA Document 477-1 Filed 10/06/23 Page 5 of 6 PageID# 7556




            20.     No lawyer who has billed time to the Firm’s representation of Google in

     this Action can access any Yelp or NMA documents stored on Paul, Weiss’s document

     management system because Paul, Weiss has established screens to prevent such access.

            21.     With one exception, no lawyer at the Firm who billed time to Yelp or NMA

     has also billed time to representing Google in this Action.

            22.     The one exception is a lawyer who billed 36 hours to Yelp over three weeks

     in February and March 2020. This work related solely to a white paper (“Yelp White

     Paper”) that Mr. Kanter transmitted on April 14, 2020, “on behalf of Yelp,” to several

     members of the United States Department of Justice Antitrust Division, copying Mr.

     Kressin and a Yelp lawyer. The Yelp White Paper concerned Google’s search engine

     business and was titled, “Google’s Vertical Search Abuses[:] How Google’s conduct in

     local search and other search verticals violates the U.S. antitrust laws.” The Yelp White

     Paper addressed only Google’s “search engine, Google Search.” I understand that the Yelp

     White Paper and April 14, 2020 transmittal email were produced by the Department of

     Justice in this Action with Bates Numbers DOJ-ADS-B-0000001486 and DOJ-ADS-B-

     0000001487.     This lawyer’s work on the Yelp White Paper did not involve fact

     investigation and was limited to answering legal questions and developing legal arguments.

     This lawyer’s work for Yelp did not concern Google’s Ad Tech business, which I

     understand to be the subject of this Action.

            23.     I have confirmed, through communications with the relevant lawyers, that

     none of the other lawyers who have billed time to representing Google in this Action recall

     ever receiving any confidential information from Jonathan Kanter, Brandon Kressin, or




                                                    4
Case 1:23-cv-00108-LMB-JFA Document 477-1 Filed 10/06/23 Page 6 of 6 PageID# 7557
